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 5   Attorneys for Debtor in Possession

 6
                                 UNITED STATES BANKRUPTCY COURT
 7
                     CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 8
      IN RE                                                Case No. 8:22-bk-12142-SC
 9
      2ND CHANCE INVESTMENT GROUP, LLC                     Chapter 11
10
                                                           DEBTOR’S RESPONSES TO
      Debtor and Debtor in Possession.
                                                           OBJECTIONS TO THE DISCLOSURE
11
                                                           STATEMENT DESCRIBING CHAPTER
                                                           11 LIQUIDATING PLAN DATED MAY
12
                                                           10, 2023
13                                                         Disclosure Statement Hearing:
                                                           Date: July 19, 2023
14                                                         Time: 1:30 pm
                                                           Place: United States Bankruptcy Court
15                                                         411 West Fourth Street, Suite 5130 /
                                                           Courtroom 5C
                                                           Santa Ana, CA 92701-4593
16

17                                                         Plan Confirmation Hearing:
                                                           Date: TBD
18                                                         Time:
                                                           Place:
19
            TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY
20
     JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED
21
     PARTIES:
22
            2nd Chance Investment Group, LLC, the debtor, and debtor in possession (“Debtor”) filed its
23
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 1   Chapter 11 Liquidating Plan Dated May 10, 2023, as ECF No. 139 (“Plan”). The Debtor filed the

 2   Disclosure Statement Describing Chapter 11 Liquidating Plan Dated May 10, 2023, as ECF No. 140

 3   (“Disclosure Statement”).

 4           Sajan Bhakta, ASB Ventures LLC, Ram Bhakta, Ronak Parikh, Precision Realty Fund, Deven

 5   Bhakta, Abhishek Bhakta, Jatin Bhakta, Parin Bhakta, Anand Bhakta, Sima Patel, Vishal Bhakta,

 6   Bhavesh Bhakta, Zona AZ LLC, Straten Lending, Kiwi Capital Group, and Primira LLC (collectively,

 7   “Bhakta Parties”), through their counsel of record, Reid & Hellyer APC, filed their objection to the

 8   Disclosure Statement on June 29, 2023, as ECF No. 185. An objection to the Plan was filed on June 29,

 9   2023, as ECF No. 186.

10           Lantzman Investments, Inc. and LMF2 LP (collectively, “Lantzman Parties”), through their

11   counsel of record, Sullivan Hill Rez & Engel, filed their objection to the Disclosure Statement and Plan

12   on July 5, 2023, as ECF No. 191.

13           The Official Committee of Unsecured Creditors (“Committee”) provided its objections to the

14   Plan and Disclosure Statement on July 10, 2023, by email to counsel for the Debtor.

15   I.      Introduction
             The Debtor filed a liquidating Plan by way of a liquidating trust to efficiently liquidate assets of
16
     the bankruptcy estate for the benefit of creditors. The Plan contemplates a distribution based upon cash
17
     generated from substantially all of the Debtor’s assets, which are primarily real estate, as well as the
18
     resolution, settlement, or liquidation of claims of the bankruptcy estate against third parties. Objections
19
     to the Disclosure Statement include the Debtor’s characterization of insiders, the adequacy of the
20
     information in the Disclosure Statement, the treatment of secured creditor claims, adequate protection,
21
     cash collateral, and other that are addressed in the Debtor’s response here.
22

23
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 1              The Debtor, for the reasons stated herein, requests that each and every objection raised by

 2   Bhakta Parties, Lantzman Parties, and the Committee, are overruled, and that the Court enter an order

 3   approving the adequacy of the Disclosure Statement.

 4   II.        Bhakta Parties
                The Bhakta Parties make two general arguments: 1) that they should not be characterized as
 5
     insiders; and 2) that Claims 26 and 29 are untreated.
 6

 7                     A. Characterization and Treatment of Insiders
                The Debtor characterizes Claims 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 33, 35, and 49 as
 8
     insider claims because of the sufficiently close relationship that the claimants had with the Debtor and
 9
     the degree of control that the insiders held over the Debtor. Specifically, the wire transfers to the insiders
10
     occurred due to their pressure, influence, and control that they had over the Debtor. The parties listed as
11
     insiders are either members of Precision Realty Fund LLC or have a sufficiently close relationship with
12
     Precision Realty Fund LLC and the Debtor to improperly influence the Debtor. See the Declaration of
13
     Rayshon Foster.
14
                These transfers are the subject to Debtor’s forthcoming adversary proceeding against Precision
15
     Realty Fund, LLC1, under 11 U.S.C. § 547(b)(4)(B) based upon undisputed pre-petition transfers of
16
     $375,000 to Precision Realty Fund LLC and $100,000 to Schorr Law Group. Pre-petition wire transfers
17
     from the Debtor to Precision Realty Fund LLC are listed on the Statement of Financial Affairs on July 7,
18
     2022, July 21, 2022, and August 19, 2022. There is also another transfer listed on the Statement of
19
     Financial Affairs, question 13, to Schorr Law Group, who represents Precision Realty Fund LLC in pre-
20
     petition state court litigation. Additional funds were transmitted by the Debtor to Precision Realty Fund
21

22

23
     1
         The adversary may include other parties, including Schorr Law Group.
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 1   LLC as provided in Exhibit 1. The Debtor’s bankruptcy petition was filed on December 21, 2022,

 2   meaning that the transfers are subject to § 547 if they are determined to be insider claims.

 3                 B. Treatment of Claims 26 and 29
            Exhibit B of the Plan provides for Claims of the Estate. Claims 26 and 29 are provided for as
 4
     allowed general unsecured claims and should be included in Class 4. See ECF No. 139, Page 56. To the
 5
     extent that the Plan lacks clarity relating to Claims 26 and 29, they are classified in Class 4, thereby
 6
     treating them consistently with other similarly situated claims in Class 4.
 7

 8   III.   Lantzman Parties
            The Debtor met and conferred with counsel for the Lantzman Parties to address the objections
 9
     and believe that the following summary will resolve said objections. The Debtor intends to prepare a
10
     stipulation with the following terms to resolve the Lantzman Parties Objections:
11
            a. The transfer of estate property to the liquidating trust will be subject to all existing liens,
12             claims and interests.
            b. The liquidating trustee will pay the proceeds of any sale of property post-confirmation to all
13             holders of valid liens, claims and interests.
            c. If the liquidating trustee intends to treat a lien, claim or interest as disputed, he will notify the
14             claimant of the dispute and withhold funds for that lien, claim or interest in a segregated
               account until the dispute is resolved. Once the dispute is resolved, the liquidating trustee will
15             pay the allowed/stipulated amount to the holder of a dispute lien, claim or interest.

16          Although the Debtor believes that the issues raised by the Lantzman Parties will be resolved by

17   stipulation, the commentary, and characterization by the Lantzman Party in its objections warrant a

18   response.

19                           A. Removal of Byron and Meridian Properties from the Plan
            The Debtor classifies the secured claim of Del Toro Servicing, Inc., in Class 2-8 of the plan, in
20
     which 25641 Byron St., San Bernardino, CA 92404 is to be transferred to the Liquidating Trust.
21
     Similarly, the Debtor classifies 827 N. Meridian Ave., San Bernardino, CA 92410 in Class 2-9 where it
22
     is transferred to and subject to the Liquidating Trust. Since the filing of the Plan and Disclosure
23
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 1   Statement, the Debtor entered into relief from stay stipulations for the Claimants in Class 2-8 and 2-9 of

 2   the Plan. The relief rom stay stipulation provides that the lender is entitled to relief from stay and may

 3   proceed with nonbankruptcy law to enforce its remedies to foreclose and obtain possession of the real

 4   property. To the extent that relief from stay is granted, the Debtor will no longer have a possessory or

 5   legal interest in the Byron2 or Meridian Properties and they will not be part of the liquidating trust.

 6                               B. Adequate Information
              The information contained within the Disclosure Statement is adequate within the meaning of 11
 7
     U.S.C. § 1125 of title 11 of the United States Code (the “Bankruptcy Code”). Each of the objecting
 8
     parties, who are represented by sophisticated counsel, understand the Plan and Disclosure Statement,
 9
     despite lengthy objections that increase the cost of administration of this bankruptcy estate. The entire
10
     Disclosure Statement contains 109 pages of information, which simplistically, places all of the Debtor’s
11
     assets into a liquidating trust whereby David Goodrich, who is a Chapter 7 Trustee in the Los Angeles
12
     Division, appointed by the Office of the US Trustee3, will act as the Liquidating Trustee.
13
              Lantzman focuses its objection on its treatment within the Liquidating Trust, which is a plan
14
     confirmation issue, not a Disclosure Statement issue. “However, feasibility of a Chapter 11
15
     reorganization plan is generally determined in connection with plan confirmation, and not approval of
16
     the disclosure statement. 11 U.S.C. § 1129(a)(11).” In re Spehar, 2:10-bk-47181-RK, at *1 (Bankr. C.D.
17
     Cal. Feb. 24, 2014).
18

19                               C. Secured Creditors Deprivation of Rights as Secured Creditors
              The intention of the Plan and the Liquidating Trust are to classify claims and interests as required
20
     under the Bankruptcy Code. Certain arguments raised by Lantzman are plan confirmation issues that are
21

22
     2
       Capitalization of certain terms shall take on the meaning as defined in the Plan, Disclosure Statement, or relevant objections
23   that are the subject of this response.
     3
       https://www.cacb.uscourts.gov/office-us-trustee
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 1   not appropriate for disclosure statement approval. “Plan confirmation issues should and will be dealt

 2   with during the plan confirmation process” In re Cascade Grain Products, LLC, Bankruptcy No. 09-

 3   30508-elp11, at *13-14 (Bankr. D. Or. Aug. 31, 2009).

 4          As an example, Lantzman’s characterization of the Liquidating Trust focuses not on the

 5   adequacy of the information, but instead on the treatment of the claims. Specifically, Lantzman

 6   characterizes the Liquidating Trust as a vehicle for the Debtor to transfer all of its assets and then to

 7   make annual installment payments to creditors after the sale of real property, arguing that the

 8   Liquidating Trust is a deprivation of its rights. Because these are plan confirmation issues and not

 9   related to the adequacy of the Disclosure Statement, the Debtor requests that the Court overrule the

10   objections.

11                            D. Adequate Protection and Cash Collateral
            Certain objections made by Lantzman are in direct conflict of this Court’s order approving the
12
     Debtor’s noticed motion and hearing to approve a stipulation between the Debtor and Lantzman for the
13
     Debtor’s use of cash collateral, granting of adequate protection, and related relief (“Cash Collateral
14
     Stipulation”). See ECF Nos. 19 and 41. Specifically, the Cash Collateral Stipulation provides that no
15
     post-petition contractual payment shall be required in 2023 absent a sale of the real property and that
16
     each of the parcels of real property are adequately protected by equity.
17

18                            E. Time Limits
            Lantzman argues that there is no time limit for Secured Creditors’ claims to be paid in full. To
19
     the contrary, the Debtor’s Plan provides for a temporal conditional injunction. See ECF No. 139, page
20
     49. Specifically,
21
                         The provisions contained with 11 U.S.C. 362 shall apply post-confirmation to
22             assets of the bankruptcy estate for a period of 365 days after the Effective Date. The
23             Bankruptcy Court shall retain jurisdiction to address any issues under this provision
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 1            relating to 11 U.S.C. Section 362. Creditors may not take any action to enforce either
                  pre-confirmation obligations or obligations due under the plan, so long as the
 2
                 Liquidating Trustee is not in material default under the Plan. If the Liquidating
 3
              Trustee is in material default under the Plan, affected creditors may: (1) file a motion
 4               for the Court to consider relief from the automatic stay while balancing adequate
                  protections and the benefit to creditors of the bankruptcy estate; or (ii) move to
 5
               dismiss this Case or convert this Case to one under Chapter 7. The post-confirmation
 6
               injunction shall be liberally construed to protect the Debtor and assets of the Debtor
 7                      while it is granted ample time to consummate the Liquidating Trust.

 8                           F. Fixed Claims
            The Debtor does not intend to “fix” secured claims. Rather, the Debtor will pay claims in line
 9
     with the terms provided in Section III of this response. The Plan does not provide for the cram-down of
10
     secured claim values, but rather the liquidation of assets of the estate to pay secured claims while paying
11
     a dividend to the general unsecured members class in Class 4.
12
                             G. Plan Feasibility
13          The Debtor’s liquidation analysis was handled by a reputable firm in Grobstein Teeple, LLP. The
14   liquidation analysis includes estimates on real property value, capital gain analysis, and cash flow. The
15   liquidation analysis provides for a total cash flow from the sale of the Debtor’s assets. There is no
16   evidence to the contrary, with no supporting declaration or evidence of property value that differs from
17   that presented by the Debtor. The fact that secured claim values may change is irrelevant, as property
18   values are also going to deviate, potentially creating even more equity available for allowed claims. To
19   the extent that one or more of the Debtor’s parcels of real property lack equity, the result may be relief
20   from stay or abandonment from the estate; but there is no evidence that all of the parcels of real property
21   lack equity pay claims. Additionally, if certain real property does lack equity, then the secured creditors
22   have remedies that they can take to protect their rights. If there were truly no equity in any of the
23
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 1   Lantzman properties, then we would have seen relief from stay motions relating to each and every

 2   property. That simply has not happened.

 3                           H. Good Faith
            The Debtor’s Plan was proposed in good faith with the intention of having a liquidating trust be
 4
     the most efficient and effective method to provide the maximum dividend to the general unsecured class.
 5
     The Debtor is not required to provide appraisals of property value to show that the Plan is proposed in
 6
     good faith.
 7

 8                           I. Credit Bid – normal sale process, no deprivation of rights
            This objection is resolved in Section III of this response.
 9
                             J. Impaired Classes Rejecting the Plan
10          This objection is one for plan confirmation and is not appropriately brought for whether the
11   disclosure statement provides adequate information. The fact that certain secured and unsecured
12   creditors do not like the content of the plan does not have a bearing on the adequacy of the disclosure
13   statement, or quite frankly, whether the plan is confirmable because creditors do not yet cast ballots yet
14   and there is no motion in play to confirm the plan which has not yet been disseminated for ballots.
15   IV.    Committee Objections
16          The Official Committee of Unsecured Creditors provided the Debtor with its position and

17   objections to the Disclosure Statement. The general objections and responses are provided below.

18                  A. Adequate Information and Insider Transactions
            The Committee’s objection provides that the Disclosure Statement should have additional
19
     information about the Debtor’s description and events that led to the filing of the bankruptcy petition.
20
     As an example, the objection indicates that the Disclosure Statement does not specify how interest rates,
21
     or the real estate market impacted the Debtor or explain the insider transactions that contributed to the
22

23
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 1   bankruptcy filing. The Debtor is willing to expand on these subjects in an Amended Disclosure

 2   Statement, to the extent that the Court agrees.

 3                  B. The Committee’s Power Under the Plan.
            The Committee is concerned that it will lose its power upon Plan confirmation. The Debtor has
 4
     no intention to strip the Committee of its power, and instead, offered the Committee to hire it post-
 5
     confirmation, potentially on a contingency basis based on recovery.
 6
                    C. Lis Pendens Release
 7          Members within the Bhakta Parties caused a lis pendens to be recorded that impacts the Debtor’s
 8
     ability to sell property of the estate. The Debtor is in the process of resolving the lis pendens recordation
 9   and may file an appropriate stipulation or motion providing additional information to approve terms.
10   The resolution may include the Debtor paying for the recording fee of the Notice of Withdrawal of the
11   Lis Pendens of approximately $700.
12
                    D. Liquidating Trust Most Efficient Method to Generate Return for All Creditors
13          The Liquidating Trust simplifies the Debtor’s liquidation efforts and maximizes a return to all

14   creditors. The Committee will maintain its power, secured creditors will be paid from the sale of escrow,

15   and unsecured creditors will be paid per the terms of Class 4 in the Plan. The administrative fees are

16   also vastly reduced, whereby David M. Goodrich is employed at approximately half of his normal rate,

17   while attorneys for the Debtor in Possession maintain a significantly lower than market rate for similarly

18   situated professionals in in the area.

19                  E. Real Estate Evictions and Sale Efforts
            The Debtor is preparing sale motions for three parcels of real property, including 37472
20
     Yorkshire Dr., Palmdale, CA 93550; 3025 Glenview Avenue, San Bernardino, CA 92407, and 8607
21
     Custer Road SW, Lakewood, WA 98499. The sale of 3025 Glenview Avenue, San Bernardino, CA
22

23
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 1   92407 will resolve the pending objection filed by Forethought Life Insurance Company dated May 18,

 2   2023, as ECF No. 153.

 3          Walter Pena of Bewley, Lassleben & Miller is handling any eviction efforts of the Debtor. To

 4   date, the Debtor is working with the occupant of 37472 Yorkshire Dr., Palmdale, CA 93550 in what is

 5   expected to be an agreed upon stipulation for entry of judgment and possession whereby the occupant

 6   vacates the property prior to an order being entered on a sale motion.

 7                  F. Discharge Provision
            The Debtor will not receive a discharge in this case and any provision to the contrary should be
 8
     stricken. Creditors and interest holders in Class 5 should not be subject to discharge.
 9
                    G. Treatment of Secured Claims
10          The Debtor recommends that any objection to the treatment of secured claims be treated
11   similarly to the resolution with the Lantzman Parties described in Section III.
12
                    H. Fees of Liquidating Trustee
13          The Liquidating Trust provides that the Liquidating Trustee may pay the reasonable salaries,

14   fees, and expenses of professionals hired by the Liquidating Trust.

15                  I. Exculpations and Release
            The Committee voices concern in its objection that the exculpation clause on Page 48 of the
16
     Plan/Liquidating Trust shields the Debtor’s principal, directors, and shareholders from actions that the
17
     Committee could have commenced pre-confirmation. The Plan does not provide for the general release,
18
     but instead, a release specifically related to the formulation and implementation of the Plan or the
19
     Liquidating Trust.
20
                    J. Liquidation Analysis
21          The Committee has not provided the Debtor with information relating to its ability to recover

22    funds on behalf of the estate and therefore the Debtor has no additional information to publish in the
      Disclosure Statement. The Debtor is not privy to any claim or activity by the Committee against the
23
      principal of the Debtor or any other party, aside from its due diligence and requests for substantial
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 1    levels of documents and information from the Debtor, which were all transmitted soon after any request
      and around the time of the 341(a) meeting of creditors.
 2
     V.      Conclusion
 3           The objections raised by the Bakhta Parties, the Lantzman Parties, Forethought Life Insurance
 4   Company, and the Committee should be overruled for the reasons set forth in the Debtor’s response.
 5

 6

 7
     Dated: July 12, 2023                         Respectfully Submitted,
 8                                                /s/ Andy C. Warshaw
 9                                                Andy C. Warshaw, Esq.
                                                  Attorneys for Debtor in Possession
10                                                1200 Main St., Suite C
                                                  Irvine, CA 92614
11

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 1   I, Rayshon Foster4, do hereby declare and say as follows:

 2       1. I am over eighteen (18) years of age and a citizen of the United States of America. I make this

 3   Declaration based upon the following facts, all of which are within my personal knowledge or belief.

 4   As to all matters alleged on information and belief, I believe them to be true. If called upon as a witness,

 5   I could and would competently testify thereto.

 6       2. I am the principal of the Debtor in the above-captioned bankruptcy case. On December 21, 2022

 7   (the “Petition Date”), the Debtor filed the voluntary petition for relief under Chapter 11 of Title 11 of the

 8   United State Bankruptcy Code. I signed the voluntary petition for relief.

 9       3. The Debtor made payments to Precision Realty Fund LLC and ASB Ventures LLC (“Investors”)

10   pursuant to an amended investment agreement (“Amended Investment Agreement”) dated August ___5,

11   2022. Attached as Exhibit 1 is a true and correct copy of the Amended Investment Agreement.

12       4. The Amended Investment Agreement provides generally, as a recital, that the Debtor made

13   $600,000 in payments to the Investors between March 1, 2022, and July 21, 2022.

14       5. Additional payments totaling $375,000 were made, as described in the Debtor’s Statement of

15   Financial Affairs. $125,000 was transmitted to Precision Realty Fund LLC on July 7, 2022; a payment

16   was made to Precision Realty Fund of $150,000 by the Debtor on July 21, 2022; another payment was

17   made by the Debtor to Precision Realty Fund on August 19, 2022, for $100,000.

18       6. An additional payment was made by the Debtor to Schorr Law Group, who are counsel to the

19   Bhakta Parties, for $100,000 on June 23, 2022.

20       7. These payments were made to Precision Realty Fund LLC and Schorr Law Group based on the

21

22
     4
       Capitalization of certain terms shall take on the meaning as defined in the Plan, Disclosure Statement, or relevant objections
23   that are the subject of this response.
     5
       No party filled in the day of execution on the attached version.
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 1   undue influence that the members of Precision Realty Fund, LLC, had on the Debtor.

 2      8. Notably, Rom Bhakta and Sajan Bhakta, were the Debtor’s contact for investments in real estate

 3   and each of them well understood the Debtor’s business model. The Debtor would not have been able to

 4   operate without the relationship that it had with Sajan and Rom Bhakta.

 5      9. I believe that Rom and Sajan Bhakta were familiar with, aware, and privy to all or substantially all

 6   of the Debtor’s financials and business dealings, particularly in the 12 months prior to the Petition Date.

 7   Each deal would be discussed with Hitem or Sajan Bhakta and most of the money invested into the

 8   Debtor resulted from Hitem or Sajan Bhakta’s actions or relationships. Sajan Bhakta kept spreadsheets

 9   that I have copies of for each of the transactions that they were involved in.

10      10. Sajan and Rom Bhakta were aware of the Debtor’s financial constraints and difficulties in 2022,

11   pushing for payments to protect their own investments to the detriment of other creditors of the Debtor.

12      11. There was a point in time where Sajan Bhakta asked for money before the loan terms expired.

13      12. At some point in the Spring or Summer of 2022, Rom Bhakta and Sajan Bhakta began making

14   demands on me to pay their claims even though the real property associated with those claims was sold

15   for a profit. When Rom Bhakta and Sajan Bhakta were not paid, they threatened to sue me personally,

16   along with the Debtor, if I did not turn over 50% of the company to them.

17      13. Providing Sajan and Rom Bhakta control of the company would have allowed them to prioritize

18   their own claims, which I would not allow. Sajan and Rom Bhakta threatened to halt current and future

19   operations and investments if their claims were not paid after I rejected their controlling share offer in

20   the company.

21      14. The Amended Investment Agreement attached as Exhibit 1 was made out of duress and due to the

22   undue influence that Precision Realty Fund LLC, Sajan Bhakta, and Rom Bhakta had over the Debtor

23   and its operations.
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 7         Attached as Exhibit 1 is a true and correct copy of the Amended Investment Agreement.

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24
       DEBTOR’S RESPONSES TO OBJECTIONS TO THE DISCLOSURE STATEMENT DESCRIBING CHAPTER
25                            11 LIQUIDATING PLAN DATED MAY 10, 2023
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 In re:                                                                                                                          CHAPTER: 11
            2nd Chance Investment Group, LLC
                                                                                                               Debtor(s).        CASE NUMBER: 8:22-bk-12142-SC


                                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1200 Main St., Suite C
Irvine, CA 92614

A true and correct copy of the foregoing document entitled (specify): DEBTOR’S RESPONSES TO OBJECTIONS TO THE
DISCLOSURE STATEMENT DESCRIBING CHAPTER 11 LIQUIDATING PLAN DATED MAY 10, 2023 will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On 07/13/2023 , I checked the CM/ECF
docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
List to receive NEF transmission at the email addresses stated below:
Amanda G. Billyard abillyard@bwlawcenter.com
Stephan M Brown ECF@thebklawoffice.com,
stephan@thebklawoffice.com;roslyn@thebklawoffice.com;brown.stephanb125317@notify.bestcase.com
Kathleen A Cashman-Kramer cashman-kramer@sullivanhill.com, theresam@psdslaw.com
Dane W Exnowski dane.exnowski@mccalla.com, bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
Lazaro E Fernandez lef17@pacbell.net,
lef-sam@pacbell.net;lef-mari@pacbell.net;OfficeLR74738@notify.bestcase.com;lefkarina@gmail.com
Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
David M Goodrich dgoodrich@go2.law, kadele@wgllp.com;lbracken@wgllp.com;wggllp@ecf.courtdrive.com;gestrada@wgllp.com
Daniel J Griffin daniel@thebklawoffice.com, tclayton@thebklawoffice.com;daniel@thebklawoffice.com
Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
Charity J Manee cmanee@goeforlaw.com, kmurphy@goeforlaw.com
Randall P Mroczynski randym@cookseylaw.com
Queenie K Ng queenie.k.ng@usdoj.gov
Douglas A Plazak dplazak@rhlaw.com
Arvind Nath Rawal arawal@aisinfo.com
Gary B Rudolph rudolph@sullivanhill.com,
bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy.com;rudolph@ecf.courtdrive.com;james@ecf.courtdrive.com
Cheryl A Skigin caskigin@earthlink.net, caskigin@earthlink.net
Richard L. Sturdevant rich@bwlawcenter.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
Christopher P. Walker cwalker@cpwalkerlaw.com, lhines@cpwalkerlaw.com;r57253@notify.bestcase.com
Fanny Zhang Wan fwan@raslg.com
Andy C Warshaw awarshaw@bwlawcenter.com, warshaw.andyb110606@notify.bestcase.com
Jennifer C Wong bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com

          2. SERVED BY UNITED STATES MAIL:
On - , I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by
placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as
follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.

 None.

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on      - , I served the following persons and/or entities
by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.

None.

        I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
July 13, 2023             Andy C. Warshaw                                     /s/ Andy C. Warshaw
Date                        Printed Name                                                                 Signature



                          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                                                    9013-3.1.PROOF.SERVICE
